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Exhibit 6

E-mail letter, London to Stevens, June 10, 2010, regarding requests for discovery
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JACK W. LONDON AND ASSOCIATES, P.C.
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Dear Catherine:

This and the preceding email refer to the attempt by Mrs. Barlow to obtain discovery from your client,
Pfizer / Warner-Lambert, that was the subject of our telephone call last Monday and the call you
requested that we have this coming Monday.

This email addresses the Requests for Production that were served last October and regarding which in
March Judge Sorokin ordered Pfizer to comply within fourteen days, i.e., by April 5.

The Court did not sustain any of Pfizer's objections to Mrs. Barlow’s Requests for Production, not a
single one. They were not granted, they were denied.

Despite Judge Sorokin’s order, Pfizer has not served the vast majority of the items that were sought by
the Requests and has served no pleading of any kind on Mrs. Barlow in regard to the Requests for
Production.

There is no document that itemizes the requests for production and states that a copy of each
document by number and category to correspond with the request is (a) attached or (b) disclosed or
that no such document exists. Mrs. Barlow does not believe that Pfizer's failure to produce a document
means that there is no such document and, in the absence of a pleading categorically stating that
documents corresponding to numbered and categorized requests do not exist within Pfizer's custody,
access, or control, Mrs. Barlow believes that such documents do exist and have not been produced.

Second, while Pfizer produced some records in a non-sorted document dump by sending CD roms
withTIFF images of certain records, it is clear that in most respects those records were not disclosed as
kept in the usual course of business. For example, a number of documents were produced that appear
to be printed Excel spread sheets of items referred to as CMMS and CMMS — Notes. The electronic
documents themselves, the Excel workbooks, were not disclosed. No record was disclosed to show how
in the usual course of business such spread sheets were located, maintained, sorted, compiled, and
turned into the documents that purport to be spreadsheets of contacts or notes regarding Mrs. Barlow’s
prescribing doctors. | do point out that among the Requests is Request 5, calling for disclosure of such
items in their electronic form.
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Finally, for this email, | attach (3) the Barlow Requests themselves. | have highlighted for you in yellow
the information that was sought and called for and that has not been provided. Documents, electronic
documents, and a pleading that identifies each document by category to correspond with the Requests
or to state that no document corresponds to the Request should have been provided by April 5. |
request them immediately.

To the extent an item is not highlighted, it is because we specifically agreed that we would defer it until
after core discovery within Judge Sorokin’s order had been complied with; the non-highlighted items
are deferred, not withdrawn.

While | do look forward to our telephone call Monday to have a conference regarding this, | am
providing this to you in advance to remove any doubt about what Pfizer has not done. The failure to
properly and fully disclose records and documents, both paper and electronic, as required by the rules
and by Judge Sorokin’s order, has obstructed and continues to obstruct Mrs. Barlow’s attempts to
prepare for and take the sales representatives depositions and otherwise conduct discovery pursuant to
Judge Sorokin’s order.

Accordingly, | want and request immediate disclosure of all requested documents, along with a pleading
that identifies them by category to correspond with the Request. In the case of any Requested item
that does not exist and is not within Pfizer's custody, access, or controll want a pleading that states
affirmatively that each such item, corresponding to the Request number and category, does not exist
within counsel’s or Pfizer’s custody, access, or control..

We are now sixty-plus days since these items were due and almost two months since | wrote to Mr.
Cheffo to request deposition dates of the sales representatives for June 16-18. Please comply with the
Requests and Order now.

Thank you very much,

Jack W. London
